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                          UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF PENNSYLVANIA


In re:                                                   Case No. 18-23759CMB
ANGELA E. BARLOW                                         Chapter 13
                                                         Document #________
               Debtor(s)
Ronda J. Winnecour, Trustee
               Movant
      vs.
ANGELA E. BARLOW

                 Respondent(s)


                 TRUSTEE'S CERTIFICATE OF DEFAULT REQUESTING
                              DISMISSAL OF CASE

     Ronda J. Winnecour, Standing Chapter 13 Trustee, respectfully represents the following:

1.      The debtor(s)' plan is in material default, in that the payments required by the plan have not
        been made.

2.      The plan currently requires the debtor(s) to pay to the Trustee the sum of $633 per month.

3.      The plan is $3182 in arrears, including the payment due for the month of April 2022.

     WHEREFORE, the Trustee requests that this case be dismissed without prejudice.



04/11/2022                                         /s/ Ronda J. Winnecour
                                                   RONDA J WINNECOUR PA ID #30399
                                                   CHAPTER 13 TRUSTEE WD PA
                                                   600 GRANT STREET
                                                   SUITE 3250 US STEEL TWR
                                                   PITTSBURGH, PA 15219
                                                   (412) 471-5566
                                                   cmecf@chapter13trusteewdpa.com
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                           UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF PENNSYLVANIA


In re:                                                      Case No. 18-23759CMB
ANGELA E. BARLOW                                            Chapter 13

               Debtor(s)
Ronda J. Winnecour, Trustee                                 Related to Document No.________
               Movant
      vs.
ANGELA E. BARLOW

                 Respondent(s)


                                                ORDER

                 AND NOW, this _____ day of _______________________, 20____, the Court
having considered the Chapter 13 Trustee’s certification (or request) for dismissal, and any responses
thereto, the following relief (as reflected by the checked boxes below) is ORDERED,
ADJUDGED and DECREED:

       This case is DISMISSED, with prejudice. The Debtor(s) is/are ineligible for bankruptcy relief
       under any chapter for a period of 180 days from the date of this Order.

       This case is DISMISSED, without prejudice.

       If either of the above provisions is checked, indicating that this case is being dismissed, then it is
       FURTHER ORDERED as follows:

        A.     Each wage attachment issued in this case is now terminated. So that each employer
               knows to stop the wage attachment, the Debtor(s) shall immediately serve a copy of this
               Order on each employer and file a proof of service within 10 days of the date of this
               Order.

       B.      This case is administratively closed. However, Court retains jurisdiction over the
               Trustee’s Report of Receipts and Disbursements and Final Report and Account. Upon
               submission of UST Form 13-FR-S: Chapter 13 Standing Trustee’s Final Report and
               Account, the Trustee is discharged from her duties in this case and this case will be
               closed without further Order of Court.
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      C.     The Clerk shall give notice to all creditors of this dismissal.

      D.     Any motion to reopen must be accompanied by the appropriate reopening fee, equal to
             the filing fee for the appropriate chapter (less administrative fee), together with the
             unpaid $________ portion of the original filing fee.

      E.     The Debtor remains legally liable for all debts as if the bankruptcy petition had not been
             filed. This bankruptcy case no longer prevents collection efforts or lawsuits. Creditor
             collection remedies are reinstated pursuant to 11 U.S.C. Section 349, and creditors are
             directed to 11 U.S.C. Section 108(c) for time limits on filing a lawsuit to collect.
             Generally, a creditor’s lawsuit must be filed by the later of:

              (1)     the time deadline provided by state law; or

              (2)     30 days after the date of this notice.



      This case is not dismissed. The plan term is extended to a total of __ months; the monthly plan
      payment amount is changed to $_________ effective_______________________ .

      This case is not dismissed at this time. However, in the event of any future plan default by the
      Debtor(s), then on the Trustee’s certificate of default, this case shall be dismissed ____ with /
      ____ without prejudice, without further notice or hearing.

      Other: _________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________
      _______________________________________________________________________




                                                  BY THE COURT:




Dated : _____________________                     ______________________________________
                                                  United States Bankruptcy Judge


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                           UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF PENNSYLVANIA


In re:                                                    Case No. 18-23759CMB
ANGELA E. BARLOW                                          Chapter 13

               Debtor(s)
Ronda J. Winnecour, Trustee
               Movant
      vs.
ANGELA E. BARLOW

                  Respondent(s)


                                  CERTIFICATE OF SERVICE

        I hereby certify that on the date shown below, I served a true and correct copy of the Trustee's
Certificate of Default with proposed order of Court upon the following, by regular United States mail,
postage prepaid, addressed as follows:

ANGELA E. BARLOW
309 N. FAIRMOUNT STREET
PITTSBURGH, PA 15206

CATHERINE T MARTIN ESQ
NLSA
928 PENN AVE
PITTSBURGH, PA 15222




04/11/2022                                          /s/ Leslie Carilli
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                                     Administrative Assistant
                                     Office of the Chapter 13 Trustee
                                     CHAPTER 13 TRUSTEE WD PA
                                     600 GRANT STREET
                                     SUITE 3250 US STEEL TWR
                                     PITTSBURGH, PA 15219
                                     (412) 471-5566
                                     cmecf@chapter13trusteewdpa.com




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